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                                                                 E-FILED
                                         Friday, 30 May, 2014 05:29:10 PM
                                             Clerk, U.S. District Court, ILCD




                s/ Nicholas J Tapscott
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AO 91 (Rev. 6/95) Criminal Complaint




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                                                CENTRAL              DISTRICT OF               ILLINOIS

       UNITED STATES OF AMERICA                     FILED                                      CRIMINAL COMPLAINT
                              v.
                                                            MAY 3 0 2014                       CASE NUMBER: J    lf, 30ci_t) -       ~
     Patricia Davis
                                                   CLERK OF THE COURT
                                                    U.S. DISTRICT COURT
                                                CENTRAL DISTRICT OF ILLINOIS
       (Name and Address of Defendant)

   I, the undersigned complainant being duly sworn state the following is true and correct to the best of my knowledge

and belief. On or about May 20, 2013                                           in Sangamon                      County, in the

Central District of Illinois, defendant(s) did, (Track Statutory Language of Offense)

 devise and participate in a scheme and artifice to defraud, and to obtain money or property by
 means of false or fraudulent pretenses, representations or promises, through the use of the
 United States mail



in violation of        18                     United States Code, Section(s)          1341

I further state that I am a(n)         Special Agent with the Illinois State Police                         and that this complaint is
                                                                        Name
based on the following facts:

 See Attached Affidavit




Continued on the attached sheet and made a part hereof:


Nicholas J. Tapscott

                     Name of Complainant


Sworn to before me and subscribed in my presence,


May 30, 2014                                                            Springfield , IL
                                                                at
Date                                                                    City and State


Tom Schanzle-Haskins
U.S. Magistrate Judge

Name & Title of Judicial Officer
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            s/ Tom Schanzle-Haskins
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                    AFFIDAVIT OF NICHOLAS J. TAPSCOTT

Nicholas J. Tapscott, being first duly sworn, states the following:

      1.     I am a Special Agent with the Illinois State Police, Medicaid Fraud

Control Bureau. I have been with the Illinois State police for 9 years and with the

Medicaid Fraud Control Bureau for four and one-half years. Among other

duties, I am assigned to investigate criminal violations of federal law which

include mail, healthcare, and wire fraud. I am also a participant in the 11 Central

Illinois Health Care Fraud Task Force, 11 which includes agents, investigators and

attorneys for the FBI, Illinois State Police Medicaid Fraud Control Bureau, U.S.

Department of Health and Human Services, Illinois Attorney General's Office

and U.S. Attorney's Office. The following information is based upon my

investigation and the investigation by other law enforcement and regulatory

officials. Because this affidavit is being submitted for the limited purpose of

obtaining determining probable cause to support a criminal complaint, I have not

included each and every fact known to me concerning this investigation.

      2.     The evidence compiled to date shows that Michelle A. Calhoun,

Patricia Davis and Alicia Davis have committed multiple acts of mail fraud and

health care fraud, violating Title 18, United States Code, Sections 1341and1347,

by defrauding the State of Illinois Medicaid Home Services program by falsely

claiming and taking payments for personal assistant services not actually

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performed, as described in this affidavit.

A.    Background

      3.     At all times material herein, the "Home Services Program" was a

"Medicaid waiver" program in the State of Illinois with funds administered by

the Illinois Department of Health and Family Services. Medicaid Waiver

programs enable states to use both state and federal Medicaid funds to pay for

services related to medical care that would not ordinarily be covered under

Medicaid.

      4.     The operational responsibility for the Home Services Program, with

minor. exceptions, rested with the Division of Rehabilitation Services, which is a

part of the Illinois Department of Human Services (DHS). Approximately one-

half of the money funding this program was provided by the United States

Department of Health and Human Services, an agency of the United States.

      5.     Through the Home Services Program, the State of Illinois provided

funding for services to individuals with significant disabilities so that they could

remain in their homes and live as independently as possible. One of the services

available to those with significant disabilities is the "personal assistant" program.

Through this program a qualified individual is allowed to hire one or more

"personal assistants" who are to perform or assist those with disabilities in

performing common tasks such as household tasks, shopping, personal care,

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incidental health care tasks, and monitoring to ensure the health and safety of the

customer. This personal assistant is to be hired by and report directly to the

customer or their family member, but is paid by the State of Illinois through this

Medicaid waiver program.

      6.     To receive payment as a personal assistant, the personal assistant

and the disabled individual complete and submit time sheets twice monthly.

These time sheets contain the dates and number of hours worked by the personal

assistant. Both the worker and the individual are required to certify the accuracy

of the time sheets. The time sheets are then submitted to DHS, and, if approved,

the claims are paid through the Office of the Comptroller in Springfield, Illinois.

Unless the personal assistant has an appropriate direct deposit agreement

approved by the State of Illinois, payment is made by check or "warrant" issued

by the Office of the Comptroller in Springfield, Illinois, and sent by U.S. Mail to

the address listed by the personal assistant. If there is a direct deposit

agreement, then funds are electronically transferred to the personal assistant's

bank account from Springfield, Illinois.

      7.     When hired as a personal assistant, the person is required to sign a

DHS Division of Rehabilitation Services (DORS) Individual Provider Payment

Policies form acknowledging their awareness of DORS Home Services

policies including:

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              • Individual Providers can only be paid for the hours they worked for the
              customer per the HSP Service Plan. Billing for hours not worked
              constitutes Medicaid fraud.

              • Individual Providers can only be paid for hours and tasks performed in
              the customer's home unless the task must be completed outside the home
              such as laundry due to no facilities in the home, banking, and grocery
              shopping.

              •Individual Providers are not allowed to subcontract. Subcontracting
              means letting someone else work in your place, putting the time on your
              time sheet and then paying them yourself. This is not only an illegal
              practice but also causes problems with Social SecurihJ withholding. Each
              Individual Provider will only be paid for services which he or she provided
              directly to the customer.

              •Individual Providers cannot charge HSP for the same hours worked when
              working another job. This includes working for other HSP customers or as
              a childcare provider paid through the Department of Human Services. This
              constitutes fraud and will be prosecuted as such.

B.      Fraud Committ~d by Michelle A. Calhoun, Patricia Davis and Alicia Davis

        8.    One of the persons eligible for assistance through this program was

JC, then a resident of Springfield, Illinois. On or about November 16, 2011, JC

was found to qualify for the services of a personal assistant.

        9.    On or about November 21, 2011, Patricia Davis and Alicia Davis

were both hired by Michelle A. Calhoun, a representative of JC, to provide

personal assistant services to JC, and each signed a Department of Human

Services Division of Rehabilitation Services Individual Provider Payment Policies

form.

        10.   It was a part of the scheme to defraud that Patricia Davis and Alicia

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Davis were not ever expected by Michelle Calhoun to provide any real services,

but instead to assist in falsifying time sheets and certifications, and splitting the

money received for work which was never performed for JC.

      11.    From on or about November 21, 2011, until at least April 19, 2013, in

the Central District of Illinois at Springfield, and elsewhere, Michelle A. Calhoun,

Patricia Davis and Alicia Davis devised a scheme and artifice to defraud health

care benefit programs, including Medicaid of money or property by means of

materially false and fraudulent promises and representations, well knowing that

such promises and representations were false when made, in that Michelle A.

Calhoun certified "Illinois Department of Human Resources Home Services Time

Sheets" submitted in the names of Patricia Davis and Alicia Davis, which

timesheets falsely represented dates, times and hours in which Patricia Davis

and Alicia Davis purportedly provided personal assistant services to JC, when in

fact each was employed elsewhere during many of those same hours, and neither

actually performed any necessary services as authorized by the Illinois

Department of Human Services, Division of Rehabilitative Services.

      11.    For the purpose of executing said scheme, and in furtherance

thereof, in the Central District of Illinois, on or about May 20, 2013, Michelle A.

Calhoun, Patricia Davis and Alicia Davis did knowingly cause to be delivered by

the United States mail, according to the direction thereon, an envelope

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                                      s/ Nicholas J Tapscott




s/ Tom Schanzle-Haskins
